                  Case 3:20-cv-05671-JD ATTORNEY
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                                                 PRIVILEGED
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                             8Fortnite partnership
  Partner Info Doc - Oneplus 8
                      -




  APAC HW
  APAC HW Partnership
          Partnership BD,
                      BD, March
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  Updates
  Updates
     •• [Apr
         [Apr 6161 Oneplus
                   Oneplus decided
                            decided NOTNOT toto pursue
                                                pursue EPIC/Fortnite
                                                          EPIC/Fortnite installer
                                                                            installer waiver  request on
                                                                                      waiver request     on premier
                                                                                                             premier devices
                                                                                                                       devices and
                                                                                                                                and will
                                                                                                                                     will
         continue with
         continue         premier tier
                     with premier   tier configuration
                                         configuration for for TMONZW/WW
                                                               TMOIVZW/WW SKUs     SKUs asas they
                                                                                             they prioritize
                                                                                                    prioritize Google
                                                                                                                Google partnerships.
                                                                                                                         partnerships. For
                                                                                                                                         For
          marketing purposes,
         marketing    purposes, they
                                  they will  only do
                                        will only  do the
                                                       the Fortnite
                                                            Fortnite installer
                                                                      installer preload
                                                                                 preload on
                                                                                          on India
                                                                                             India SKU
                                                                                                     SKU based
                                                                                                           based RSA
                                                                                                                   RSA optimized
                                                                                                                        optimized tier
                                                                                                                                   tier
          requirements*. II
         requirements*.     checked with
                            checked           TAM Alan
                                       with TAM      Alan and
                                                           and we    think the
                                                                we think   the Fortnite
                                                                                Fortnite installer
                                                                                         installer preload
                                                                                                     preload meets
                                                                                                              meets GMS
                                                                                                                      GMS & & RSA
                                                                                                                               RSA
          requirements.
         requirements.
     •• [Mar
          [Mar 27]
                27] Oneplus
                    Oneplus execs
                             execs reached
                                      reached out
                                                out today
                                                      today for
                                                             for their
                                                                 their new
                                                                        new Fortnite
                                                                              Fortnite partnership
                                                                                       partnership solution
                                                                                                       solution while  trying to
                                                                                                                 while trying to keep
                                                                                                                                 keep
          recently approved
         recently   approved Oneplus
                               Oneplus 8  8TMO
                                            TMO &  &VZW
                                                      VZW SKU
                                                            SKU onon RSA3
                                                                      RSA3 Premier
                                                                              Premier Tier.
                                                                                       Tier. This
                                                                                             This isis Oneplus
                                                                                                       Oneplus initiated
                                                                                                                 initiated request
                                                                                                                           request for
                                                                                                                                   for
         sustainable long term growth (not   (not carriers request)
                                                             request) and Onplus is in discussion with     with TMO/VZW on 5G
          narratives &
         narratives   & marketing
                        marketing campaigns
                                     campaigns around
                                                   around this.
                                                             this. BD/APE
                                                                     BD/APE hadhad provided
                                                                                    provided initial
                                                                                              initial GMS/RSA
                                                                                                       GMS!RSA compliance
                                                                                                                   compliance feedback
                                                                                                                                feedback
         with   suggestions after
         with suggestions    after meetings
                                    meetings with      Oneplus xfn
                                                with Oneplus      xfn teams.
                                                                       teams. Before
                                                                                Before the
                                                                                        the meetings,
                                                                                            meetings, PetePete directionally
                                                                                                                directionally shared
                                                                                                                              shared higher
                                                                                                                                       higher
          priority on
         priority  on Fortnite
                      Fortnite partnership
                                partnership inin a
                                                 aprivate
                                                    private call
                                                             call if
                                                                  if no
                                                                     no feasible
                                                                        feasible solution
                                                                                   solution to
                                                                                            to keep
                                                                                                keep TMO
                                                                                                       TMO &  &VZW
                                                                                                                VZW SKU
                                                                                                                      SKU on
                                                                                                                           on Premier
                                                                                                                               Premier Tier.
                                                                                                                                        Tier.

  Context
  Context
     •• OnePlus
          OnePlus isis partnering
                       partnering with   Epic Games
                                    with Epic Games to
                                                     to boost
                                                        boost Android
                                                               Android gaming
                                                                         gaming experience,
                                                                                  experience, including
                                                                                              including preloading
                                                                                                        preloading aaFortnite
                                                                                                                      Fortnite
          installer which
          installer         supports exclusive
                    which supports     exclusive 90FPS
                                                 9OFPS Fortnite
                                                        Fortnite for
                                                                 for the
                                                                     the first
                                                                         first time
                                                                               time ever
                                                                                    ever on
                                                                                         on any
                                                                                            any snnartphone.
                                                                                                smartphone. The
                                                                                                              The preloaded
                                                                                                                  preloaded
          installer(s) will
          installer(s)      fail Premier
                       will fail Premier requirements
                                          requirements and
                                                       and push
                                                            push recently
                                                                  recently approved
                                                                            approved TMO
                                                                                       TMO &&VZW
                                                                                              VZW SKU
                                                                                                    SKU from
                                                                                                        from Premier
                                                                                                              Premier toto Basic
                                                                                                                           Basic or
                                                                                                                                 or
          non-RSA devices
          non-RSA    devices due
                               due to
                                   to INSTALL_PACKAGE
                                      INSTALL-PACKAGE or   or REQUEST_INSTALL_PACKAGES
                                                              REQUEST-INSTALL-PACKAGES permissionpermission violation.
                                                                                                             violation.

      • Oneplus
      • Oneplus 88TMO
                   TMO SKU
                         SKU is
                             is planned
                                planned to
                                         to be
                                            be announced
                                               announced on on Apr
                                                               Apr 14th
                                                                    14th and
                                                                          and VZW
                                                                               VZW SKU
                                                                                    SKU onon May
                                                                                              May 7th
                                                                                                  7th which
                                                                                                      which were  both
                                                                                                             were both
        approved as
        approved  as Premier
                      Premier devices
                              devices with  conditional waivers.
                                      with conditional            Oneplus aims
                                                         waivers. Oneplus    aims to
                                                                                  to build
                                                                                      build a
                                                                                            asustainable
                                                                                              sustainable long
                                                                                                          long term
                                                                                                               term business
                                                                                                                    business
        in the
        in the US
               US with gaming partners
                  with gaming  partners to
                                        to create
                                           create the
                                                   the largest
                                                       largest possible
                                                               possible increase
                                                                          increase in
                                                                                   in brand
                                                                                       brand awareness
                                                                                              awareness across
                                                                                                         across the
                                                                                                                the US
                                                                                                                    US and
                                                                                                                       and
        global audiences
        global audiences due
                          due to
                              to they
                                 they are
                                      are relatively
                                          relatively small
                                                     small but
                                                           but prioritize
                                                               prioritize the
                                                                           the US
                                                                               US market.
                                                                                  market.

      • Oneplus
      • Oneplus goal
                 goal of
                      of Epic
                         Epic partnership
                              partnership
                Demonstrate leadership
            oo Demonstrate     leadership in
                                           in 5G
                                              5G gaming
                                                  gaming and
                                                           and 5G
                                                                5G gaming
                                                                   gaming capabilities
                                                                            capabilities with carriers
                                                                                         with carriers
                Increase Oneplus
            oo Increase   Oneplus brand
                                    brand awareness
                                           awareness among
                                                        among Fortnite
                                                                Fortnite PC,
                                                                         PC, console
                                                                             console and
                                                                                       and mobile
                                                                                           mobile ganners
                                                                                                   gamers globally
                                                                                                            globally (over
                                                                                                                     (over
                65mm weekly
               65nnnn           active ganners)
                        weekly active  gamers)
                Massive OnePlus
            oo Massive    OnePlus unaided
                                    unaided brand
                                              brand awareness
                                                     awareness increase
                                                                 increase across
                                                                           across 55million
                                                                                     million Fortnite
                                                                                             Fortnite ganners
                                                                                                      gamers inin US
                                                                                                                  US and
                                                                                                                     and 800K+
                                                                                                                         800K-i-
                estimated players
               estimated    players across
                                    across new
                                             new and
                                                  and legacy
                                                       legacy OnePlus
                                                               OnePlus devices
                                                                        devices globally
                                                                                 globally
                Exclusive OnePlus
            oo Exclusive   OnePlus Fortnite
                                     Fortnite creative
                                               creative island
                                                        island map
                                                               map experience
                                                                    experience and
                                                                                 and emote
                                                                                      emote within  Fortnite
                                                                                             within Fortnite

      • Epic
      • Epic is
             is aiming
                aiming to
                       to have
                           have the
                                the Epic
                                    Epic Game
                                           Game Store
                                                 Store app
                                                        app preloaded
                                                             preloaded onon Oneplus
                                                                            Oneplus 88TMO
                                                                                       TMO & &VZW
                                                                                               VZW SKUs
                                                                                                   SKUs through
                                                                                                          through this
                                                                                                                  this
        partnership. Per
        partnership. Per Oneplus
                          Oneplus initial
                                   initial proposal,
                                           proposal, users
                                                     users will  start from
                                                            will start from Oneplus
                                                                            Oneplus game
                                                                                     game launcher
                                                                                            launcher (step1)
                                                                                                     (stepl) and
                                                                                                             and trigger
                                                                                                                 trigger
        preloaded Epic
        preloaded  Epic Game
                        Game Store
                                Store App
                                       App (step
                                            (step 3)
                                                  3) for
                                                     for further
                                                         further steps.
                                                                  steps. Please
                                                                         Please see
                                                                                see details
                                                                                    details here.
                                                                                            here.




                                                                                                                   EXHIBIT 628
HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL - ATTORNEYS'
                      ATTORNEYS' EYES
                            -    EYES ONLY
                                      ONLY                                                                             GOOG-PLAY-007173483
                                                                                                                       GOOG-PLAY-007173483

                                                                                                                          EXHIBIT 628-001
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                      1.
                      1.                              2.
                                                      2.                                3.
                                                                                        3.               4.
                                                                                                         4.                 5.
                                                                                                                            5.                    6.
                                                                                                                                                  6.                     7.
                                                                                                                                                                         7.

                                                                                                                                            5




                                                                                             2111
                                                                                             2

                                                                          F
                                                                                             .17%7777.77-.7.777:17.
                                                                                             7



         Find Epic games banner in
         Find                                                   Games app after clicking
                                               Redirect to Epic Games                         Downloading                    Install
                                                                                                                      Direct Install        Access Permission
                                                                                                                                                    Permission    Enter Fortnite
                                                                                                                                            Access                Enter
         Game space as the Epic                the banner in Game Space                       Fortnite In Epic                 by the
                                                                                                                      Fortnite by  the          Fortnite after
                                                                                                                                            for Fortnite after    Game and
                                                                                                                                                                  Game   and Sign-in
         game app
         game  app preloaded
                    preloaded in
                              in                                                              games app               support of OnePlus    installing the        Fortnite account
                                                                                                                      support
         OnePlus system
         OnePlus  system                                                                                              System apk which
                                                                                                                                    which   Fortnite              Page then Play the
                                                                                                                      has the
                                                                                                                      has the INSTALL
                                                                                                                               INSTALL      successfully
                                                                                                                                            successfully          Fortnite directly
                                                                                                                                                                  Fortnite directly
         # OnePlus would
                    would like to                                                                                     PACKAGE                                     after account
                                                                                                                                                                  after account login
         apply the INSTALL                                                                                            PERMISSION
                                                                                                                      PERMISSION                                  successfully
                                                                                                                                                                  successfully
         PACKAGE    PERMISSON
         PACKAGE PERMISSON for   for




     • BD/APE
     • BD/APE discussed
              discussed 3 3options
                            options from
                                     from Oneplus
                                          Oneplus subject
                                                    subject to
                                                            to their
                                                               their negotiation
                                                                     negotiation with  Epic:
                                                                                  with Epic:
              Option la.
          0 Option   la. - Oneplus
                           Oneplus asks
                                     asks Epic
                                          Epic to
                                               to provide
                                               -  provide aaspecific
                                                             specific Epic
                                                                      Epic Fortnite
                                                                           Fortnite Installer
                                                                                     Installer to
                                                                                               to install
                                                                                                  install Fortnite
                                                                                                          Fortnite only.
                                                                                                                   only.
              Google will
              Google      discuss if
                     will discuss  if we could grant
                                      we could grant aaRSA
                                                        RSA waiver   to Epic
                                                             waiver to  Epic Fortnite
                                                                             Fortnite installer
                                                                                      installer (with
                                                                                                (with INSTALL_PACKAGES
                                                                                                       INSTALL-PACKAGES
              permission) to
              permission)  to keep
                              keep 0P8
                                    0P8 on
                                         on Premier
                                            Premier Tier.
                                                     Tier.




                                                                                                                                 3




                                  Frtn lEe
                                                                   21                               21

                                                                 .....••••••••.,•••••


                            4otary mu.%.m.11
                                                           110                                                                                                            el   .




               oo     Option lb.
                      Option  lb. - Oneplus
                                    Oneplus will  use 1P
                                             will use
                                               -      1P installer
                                                         installer and
                                                                   and Epic
                                                                       Epic 3P
                                                                            3P download
                                                                               download engine
                                                                                           engine to
                                                                                                   to install
                                                                                                      install Fortnite
                                                                                                              Fortnite only.
                                                                                                                       only. Google
                                                                                                                             Google
                      will discuss  if we could grant a RSA  waiver to Oneplus  1P Installer (with INSTALL-PACKAGES
                      will discuss if we could grant a RSA waiver to Oneplus 1P Installer (with INSTALL_PACKAGES




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HIGHLY CONFIDENTIAL - ATTORNEYS'
                      ATTORNEYS' EYES
                                 EYES ONLY
                                   -  ONLY                                                                                                                 GOOG-PLAY-0071 73484
                                                                                                                                                           GOOG-PLAY-007173484

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                                     ATTORNEY
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                  permission) for
                  permission) for Fortnite
                                  Fortnite only
                                           only to
                                                to keep
                                                   keep 0P8
                                                        0P8 on
                                                            on Premier
                                                               Premier Tier.
                                                                       Tier.

                        • Note
                        • Note - Oneplus
                                 Oneplus believes
                                          believes option
                                              -           1bis
                                                   option lb is following
                                                                following premier
                                                                          premier tier
                                                                                  tier requirement
                                                                                       requirement Section
                                                                                                   Section 3.7
                                                                                                           3.7
                          2nd paragraph
                          2nd paragraph which   needs Google
                                         which needs   Google approval.
                                                                approval.

              O   Option 2
                  Option 2- Oneplus
                            Oneplus uses
                                  - uses 1P
                                         1Pinstaller
                                            installer (with
                                                      (with INSTALL_PACKAGES)
                                                            INSTALL-PACKAGES) to
                                                                              to install
                                                                                 install Fortnite
                                                                                         Fortnite and
                                                                                                  and 1P
                                                                                                      1Pinstaller
                                                                                                         installer (with
                                                                                                                   (with
                  REQUEESTJNSTALLPACKAGES) to install other Epic games if they need to preload Epic Games app.
                  REQUEEST_INSTALL_PACKAGES)                                                                      app.

                        • We
                        • We shared
                               shared it's
                                      it's unlikely
                                           unlikely to
                                                    to keep
                                                       keep 0P8
                                                            0P8 on
                                                                 on Premier
                                                                    Premier tier
                                                                            tier and
                                                                                 and potential
                                                                                     potential security/privacy
                                                                                               security/privacy concerns
                                                                                                                concerns to
                                                                                                                         to
                          install apps
                          install apps based
                                       based onon such
                                                   such approach..
                                                         approach..

              oo Option
                 Option 33- Both
                            Both TMO
                                 TMO &
                                  -   &VZW
                                        VZW SKUs
                                            SKUs become
                                                  become Basic
                                                           Basic tier.
                                                                 tier. Oneplus
                                                                       Oneplus treats
                                                                                treats Epic
                                                                                       Epic Game
                                                                                             Game Store
                                                                                                   Store apps
                                                                                                         apps as
                                                                                                               as
                 privileged app.
                 privileged app. We
                                 We expressed
                                    expressed strong
                                              strong security
                                                     security concerns
                                                              concerns since
                                                                         since the
                                                                               the app
                                                                                   app will  have privilege
                                                                                        will have privilege to
                                                                                                            to all
                                                                                                               all
                 dangerous permissions.
                 dangerous    permissions.

              oo Option
                 Option 4
                        4- Oneplus
                           Oneplus to
                                    to preload
                                      -preload Fortnite
                                               Fortnite gameon
                                                        gameon data     partition w/o
                                                                  data partition      user download.
                                                                                  w/o user download. Users
                                                                                                     Users could
                                                                                                           could
                 choose to
                 choose to free
                           free up
                                up the
                                   the 500MB+
                                       500MB+ storage
                                                storage if
                                                         if not
                                                            not interested.
                                                                interested.

                        • Note
                        • Note - This
                                 This will  provide very
                                       will provide
                                          -         very limited
                                                         limited incentives
                                                                 incentives to
                                                                            to Epic
                                                                               Epic and
                                                                                    and carriers.
                                                                                        carriers. Oneplus
                                                                                                  Oneplus may
                                                                                                          may not
                                                                                                              not get
                                                                                                                  get it
                                                                                                                      it
                          from Epic
                          from Epic in
                                     in final
                                        final negotiation.
                                              negotiation.

  Next-step
  Next-step

      • 1)
      • 1) Oneplus
           Oneplus will further discuss
                   will further discuss with   Epic games
                                         with Epic  games to
                                                           to secure
                                                              secure Option
                                                                      Option 4
                                                                             4or
                                                                               or option
                                                                                  option lb.
                                                                                         lb.
            oo Note
                Note - We
                        We believe
                          - believe Epic
                                    Epic will hold a
                                         will hold astrong
                                                     strong position
                                                            position to
                                                                     to keep
                                                                        keep Epic
                                                                             Epic Game
                                                                                   Game Store
                                                                                         Store app
                                                                                               app preload
                                                                                                   preload ask.
                                                                                                           ask.

      • 2)
      • 2) We
           We will propose an
              will propose  an exec
                               exec level
                                    level discussion
                                          discussion with Pete next
                                                     with Pete next week if Oneplus
                                                                    week if Oneplus comes
                                                                                    comes back
                                                                                          back with options which
                                                                                               with options       may
                                                                                                            which may
        cause user
        cause user security/privacy
                    security/privacy concerns.
                                     concerns.

  Additional Detail
  Additional Detail on
                    on Above
                       Above Points
                             Points
      • Please
      •   Please see
                  see Oneplus
                      Oneplus initial
                              initial proposal
                                      proposal here
                                               here before
                                                    before our
                                                           our discussion.
                                                               discussion.




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                      ATTORNEYS' EYES
                              -  EYES ONLY
                                      ONLY                                                               GOOG-PLAY-007173485
                                                                                                         GOOG-PLAY-007173485

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HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL - ATTORNEYS'
                      ATTORNEYS' EYES
                        -        EYES ONLY
                                      ONLY                                                 GOOG-PLAY-007173486
                                                                                           GOOG-PLAY-007173486

                                                                                              EXHIBIT 628-004
